                                    EXHIBIT A




Case 1:20-cv-03480-JPO Document 26-1 Filed 07/27/20 Page 1 of 6
                   Case 1:20-cv-03480-JPO Document 26-1 Filed 07/27/20 Page 2 of 6




---------- Forwarded message ---------
From: Mark Tress <mark@cedarholdings.net>
Date: Wed, Mar 18, 2020 at 4:47 PM
Subject: Re: RE 251 Dekalb
To: Jaryd Lindheim <jaryd.lindheim@quarters.com>


Due to corona we will be shutting the site for next few months and reassess then.


      Mark Tress
   732 370 4030
mark@cedarholdings.net
Cedar Holdings, LLC



       On Mar 18, 2020, at 2:44 PM, Jaryd Lindheim <jaryd.lindheim@quarters.com> wrote:


       We just tried you. Are you available still. We need to chat.

       Thanks,



       Jaryd Lindheim
       Director of Real Estate: East Coast



         jaryd.lindheim@quarters.com



         +1 608-469 3274




       Quarters Services USA LLC

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            Case 1:20-cv-03480-JPO Document 26-1 Filed 07/27/20 Page 3 of 6
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Stuttgart · The Hague · Washington, D.C.



On Tue, Mar 17, 2020 at 10:33 PM Mark Tress <mark@cedarholdings.net> wrote:
 2:30


       Mark Tress
    732 370 4030
 mark@cedarholdings.net
 Cedar Holdings, LLC



            On Mar 17, 2020, at 10:30 PM, Jaryd Lindheim <jaryd.lindheim@quarters.com> wrote:

            Have calls all morning. Has to be after 1:30pm est.

            Thanks,
            Jaryd Lindheim
            Director of Real Estate Expansion: East Coast
            Jaryd.Lindheim@quarters.com
            +1 608-469-3274




            Quarters Digital Services GmbH
            Part of Quarters Group
            Zossener Strasse 55 | 10961 Berlin | Germany
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            Hamburg Munich · New York · Philadelphia · Rotterdam · Stuttgart · The Hague ·
            Washington D.C.
            Amtsgericht Berlin-Charlottenburg, HRB 156335 B | CEO: Gunther Schmidt | CFO:
            Ferdinand von Fumetti



                       On Mar 17, 2020, at 9:35 PM, Mark Tress <mark@cedarholdings.net>
                       wrote:
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Case 1:20-cv-03480-JPO Document 26-1 Filed 07/27/20 Page 4 of 6
     12pm


           Mark Tress
        732 370 4030
     mark@cedarholdings.net
     Cedar Holdings, LLC



            On Mar 17, 2020, at 9:16 PM, Jaryd Lindheim
            <jaryd.lindheim@quarters.com> wrote:

            Mark,

            Confident we can figure something out.

            Let’s all chat together tomorrow afternoon. Let me
            know your availability and we will reach out then.

            Thanks,

            Jaryd Lindheim
            Director of Real Estate Expansion: East Coast
            Jaryd.Lindheim@quarters.com
            +1 608-469-3274




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            Philadelphia · Rotterdam · Stuttgart · The Hague ·
            Washington D.C.
            Amtsgericht Berlin-Charlottenburg, HRB 156335 B |
            CEO: Gunther Schmidt | CFO: Ferdinand von Fumetti



                      On Mar 17, 2020, at 9:01 PM, Mark
                      Tress <mark@cedarholdings.net>
                      wrote:

                      I will not acknowledge a default. We
                      can revise the lease and remove that
                      or this will not work. Sorry. Please let
                      me know asap so i can let bank know if
                      proceeding or closing the project
                      down.


                                         4
Case 1:20-cv-03480-JPO Document 26-1 Filed 07/27/20 Page 5 of 6
                       Mark Tress
                    732 370 4030
                 mark@cedarholdings.net
                 Cedar Holdings, LLC



                       On Mar 17, 2020, at
                       8:59 PM, Lori Albert
                       <lori.albert@quarters.
                       com> wrote:

                       We can’t sign not
                       listing the
                       default. Perhaps we
                       can discuss a way to
                       restructure things and
                       sign an amendment
                       quickly. Happy to talk
                       it through.

                       Sent from my iPhone



                              On
                              Mar
                              17,
                              2020,
                              at 6:24
                              PM,
                              Mark
                              Tress
                              <mark
                              @ceda
                              rholdi
                              ngs.ne
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                              wrote:

                              I can
                              not
                              sign
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                              Sorry



                              Mark
                              Tress
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Case 1:20-cv-03480-JPO Document 26-1 Filed 07/27/20 Page 6 of 6
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